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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                            Judge Daniel D. Domenico

        Civil Action No. 1:19-cv-03353-DDD-NRN

        TEYMUR MEHDIYEV,

                Plaintiff,
        v.

        QATAR NATIONAL TOURISM COUNCIL, a Government Authority of
        Qatar, a/k/a Qatar Tourism Authority,

                Defendant.


        QATAR AIRWAYS GROUP Q.C.S.C, a Qatari Corporation

                Counterclaimant,
        v.

        TEYMUR MEHDIYEV,

                Counterdefendant.




          ORDER GRANTING PLAINTIFF’S MOTION FOR DISMISSAL
            AND MOTION FOR PARTIAL SUMMARY JUDGMENT



             This is a cybersquatting and trademark case. In 2004, a non-party to
        this case purchased the domain name <visitqatar.com>. That website
        sat largely dormant for over a decade until the Qatar National Tourism
        Council, an arm of the Qatari government, sought to create trademark
        rights in the phrase “Visit Qatar.” After the Council began developing
        that trademark, Plaintiff Teymur Mehdiyev purchased the <visitqa-
        tar.com> domain name and developed it as a tourism website. Mr.



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        Mehdiyev seeks, among other things, declaratory relief stating that he
        is not a cybersquatter. He has filed a motion for summary judgment on
        that issue. The Council has filed counterclaims alleging trademark in-
        fringement and cybersquatting. And in an added wrinkle, a separate
        Qatari governmental entity whom Mr. Mehdiyev did not originally sue,
        Qatar Airways, purported to join this suit by asserting its own claims in
        the Council’s answer to Mr. Mehdiyev’s complaint. Mr. Mehdiyev seeks
        to dismiss or strike Qatar Airways’s claims as improperly joined. For the
        reasons set forth below, Mr. Mehdiyev’s motions as to cybersquatting
        and improper joinder are granted.

                                    BACKGROUND

           Plaintiff Teymur Mehdiyev is a citizen and resident of Azerbaijan.
        (Doc. 1 at ¶ 7.) Defendant Qatar National Tourism Council is a govern-
        mental authority of Qatar. (Id. at ¶ 8.) Mr. Mehdiyev acquired the do-
        main name <visitqatar.com> in January 2016 via the domain name reg-
        istrar Name.com, which is located in Colorado. (Id. at ¶¶ 10-11.) He then
        obtained a United States trademark registration for the phrase “VISIT
        QATAR,” and developed <visitqatar.com> as a travel booking website.
        (Id. at ¶¶ 11-12.) The Council also claims to have trademark rights in
        the phrase “VISIT QATAR” subject to a different, supplemental regis-
        tered mark. (See Doc. 14 at pp. 4, 9.)

           To have these competing interests adjudicated, the Council filed a
        complaint with the World Intellectual Property Organization. (Doc. 1 at
        ¶¶ 17-26.) The WIPO found that <visitqatar.com> must be transferred
        to the Council unless a court with jurisdiction over the matter held oth-
        erwise. (See Doc. 1 at ¶¶ 23-25; Doc. 14 at ¶¶ 23-25.) Mr. Mehdiyev then
        filed this suit, seeking a declaratory judgment that he has not infringed
        on the Council’s trademark or unlawfully cybersquatted, and claiming



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        that the Council reverse hijacked his domain name and tortiously inter-
        fered with his contract with the relevant domain name registrar. (Doc.
        1 at ¶¶ 27-47.)

             In response, the Council filed an answer in which it asserted several
        counterclaims, including for trademark infringement and cybersquat-
        ting. (Doc. 14.) In the same document filed as the Council’s Answer, a
        third-party, Qatar Airways Group Q.C.S.C., also purported to join this
        suit by filing its own “counterclaims” against Mr. Mehdiyev in the Coun-
        cil’s answer to the complaint. (Doc. 14 at pp. 25-42.) In the answer, Qatar
        Airways relied on Federal Rule of Civil Procedure 19 to argue that it had
        a right to join the case as a necessary party.

                                         ANALYSIS

        I.      Motion to Dismiss

             Mr. Mehdiyev first seeks to dismiss or strike third-party Qatar Air-
        ways’s “counterclaims” against him. He argues that there was no basis
        for Qatar Airways’s intervention or joinder into this suit without leave
        of court. Mr. Mehdiyev also seeks dismissal on alternative grounds of
        insufficient service of process and lack of personal jurisdiction. In re-
        sponse, Qatar Airways argues that it properly joined the suit, without
        leave, pursuant to Federal Rule of Civil Procedure 20.1

             Federal Rule of Civil Procedure 20 states, in relevant part:
                (1) Plaintiffs. Persons may join in one action as plaintiffs if:

                (A) they assert any right to relief jointly, severally, or in
                the alternative with respect to or arising out of the same

        1   Qatar Airways stated in the Council’s answer that it should be joined
        as a necessary party pursuant to Federal Rule of Civil Procedure 19.
        (Doc. 14 at p. 25.) But Qatar Airways has not raised that ground for
        joinder in its opposition to Mr. Mehdiyev’s motion to dismiss. The court


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              transaction, occurrence, or series of transactions or occur-
              rences; and

              (B) any question of law or fact common to all plaintiffs will
              arise in the action.

        Federal Rule of Civil Procedure 13(h) provides that “Rules 19 and 20
        govern the addition of a person as a party to a counterclaim or cross-
        claim.” So “generally, the defendant has a right to file its counterclaim
        or crossclaim with its responsive pleading. A defendant who does so has
        the right to join additional parties to the counterclaim or crossclaim
        without leave of court.” 4 Moore’s Federal Practice - Civil § 20.02 (2020).

           The Council and Qatar Airways argue that they satisfy Federal Rule
        of Civil Procedure 20(1)(A) because their counterclaims relate to Mr. Me-
        hdiyev’s use of a single, allegedly infringing logo. This argument has
        some significant flaws, however.

           First, by its terms, Rule 20 applies to joining an action as plaintiffs.
        Qatar Airways does not seek to join as a plaintiff, but as a counterclaim-
        ant. And while Rule 13 refers to Rules 19 and 20 as governing counter-
        claims, it does so only as to “the addition of a person as party to a coun-
        terclaim or crossclaim.” The airline here is not seeking to become a party
        to any counterclaim, but to assert its own related, but distinct claims.

           The Council, on one hand, brings a trademark infringement claim as
        to its “Visit Qatar” mark; brings a cybersquatting claim as to the <vis-
        itqatar.com> domain; and seeks cancellation of Mr. Mehdiyev’s “Visit
        Qatar” federal trademark registration. In contrast, Qatar Airways
        brings trademark infringement claims for separate “Oryx Marks” rights
        and a state-law unfair-competition claim. While Qatar Airways may


        therefore construes Qatar Airways as seeking permissive joinder under
        Rule 20 for purposes of this motion.


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        have licensed the “Visit Qatar” trademark to the Council, Qatar Airways
        does not join the Council’s claim as to that mark and does not assert a
        claim for relief as to that trademark in the answer. (Doc. 14 at p. 25.)

           Likewise, it’s not clear that Qatar Airways qualifies as a “counter-
        claimant” in the first place, given that Mr. Mehdiyev has brought no
        claims against it and it has not joined the Council’s existing counter-
        claims. Qatar Airways better resembles a third-party plaintiff or inter-
        venor, so Qatar Airways’ invocation of Rule 13 is somewhat dubious. The
        text of the relevant rules does not seem to contemplate this maneuver.

           It is perhaps not surprising then that the Council and Qatar Airways
        have identified no caselaw supporting invocation of Rule 20 in this par-
        ticular context. They cite two cases, and both are distinguishable. In
        Earthmovers, Inc. v. Massey, a United States Magistrate Judge granted
        a defendant’s request to make two non-parties “plaintiffs to the counter-
        claim stated in Defendants’ Answer and Counterclaim.” No. 07-4143,
        2008 WL 347695, at *1, *3 (D. Kan. Feb. 7, 2008). But as noted, Qatar
        Airways is not joining a previously-asserted counterclaim made by an
        existing party; it’s attempting to assert separate claims to which the
        Council may have no legal interest or right. Aleynikov v. Goldman Sachs
        Group, Inc., is similar. No. 12-5994, 2013 WL 5816941, at *11 (D.N.J.
        Oct. 29, 2013). In that case, the joining counterclaimant “assert[ed] pre-
        cisely the same claim for declaratory relief” as the original defendant.
        Id. And in that case, the joining counterclaimant specifically joined an
        existing counterclaim asserted by the original defendant. Id.

           Finally, allowing Qatar Airways to assert its own claims against Mr.
        Mehdiyev raises concerns as to service of process and personal jurisdic-
        tion. Granted, a plaintiff generally consents to the court having personal
        jurisdiction over counterclaims brought against him by someone he sues.



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        But it is less clear if that consent extends to independent claims asserted
        by a third party whom the plaintiff never sued in the first instance, even
        if those claims may have some factual similarity to the plaintiff’s origi-
        nal claims. See Reedsburg Bank v. Apollo, 508 F.2d 995, 1000 (7th Cir.
        1975) (permissive intervenor must establish an independent basis for
        jurisdiction); Fed. R. Civ. P. 82 (the Rules “do not extend or limit the
        jurisdiction of the district courts”). Indeed, plaintiffs are “masters of the
        complaint” and can narrow their claims and parties to those claims in
        ways that limit or exclude a federal court’s jurisdiction over the case.
        See Caterpillar Inc. v. Williams, 482 U.S. 386, 395 (1987) (describing the
        well-pleaded complaint rule). Similar problems might arise in the con-
        text of service of process because Qatar Airways has not followed the
        requirements of Rule 4 as to its “counterclaims.” While a true counter-
        claim brought by an existing defendant may not require separate service
        under Rule 4, as Qatar Airways notes, that proposition does not neces-
        sarily extend where a third party joins a lawsuit, without leave, and as-
        serts its own claims against a plaintiff.

           Given these concerns, the court declines to exercise its discretion to
        allow Qatar Airways to join the case at this time. See Vanover v. NCO
        Fin. Servs., Inc., 857 F.3d 833, 839 (11th Cir. 2017) (district courts have
        “broad discretion to join parties or not” (internal citation and quotation
        marks omitted)). Even if Qatar Airways meets the technical require-
        ments of Rule 20, “district courts have the discretion to refuse joinder in
        the interest of avoiding prejudice and delay, ensuring judicial economy,
        or safeguarding principles of fundamental fairness.” Fed. Ins. Co. v.
        Singing River Health Sys., 850 F.3d 187, 202 (5th Cir. 2017). Allowing
        joinder in this context raises substantial fairness and due process con-
        cerns that have not been fully briefed, so the court will not exercise its
        discretion to allow joinder of Qatar Airways. The court will therefore



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        dismiss Qatar Airways’s “counterclaims” without prejudice. See Fed. R.
        Civ. P. 21 (“On motion or on its own, the court may at any time, on just
        terms, add or drop a party.”); see also Acevedo v. Allsup’s Convenience
        Stores, Inc., 600 F.3d 516, 522 (5th Cir. 2010) (noting that the proper
        remedy for misjoinder is to grant severance or dismissal as to the im-
        proper party if it will not prejudice any substantial right).

        II.      Motion for Summary Judgment

              Federal Rule of Civil Procedure 56 requires the court to grant a mo-
        tion for summary judgment “if but only if the evidence reveals no genu-
        ine issue of material fact and the movant is entitled to judgment as a
        matter of law.” MarkWest Hydrocarbon, Inc. v. Liberty Mut. Ins. Co., 558
        F.3d 1184, 1190 (10th Cir. 2009). The court views “the facts and all rea-
        sonable inferences those facts support in the light most favorable” to
        the Council. Id. at 1189–90. “An issue of material fact is genuine only if
        the nonmovant presents facts such that a reasonable factfinder could
        find in favor of the nonmovant.” S.E.C. v. Thompson, 732 F.3d 1151,
        1157 (10th Cir. 2013) (alteration adopted). “If a party fails to properly
        support an assertion of fact or fails to properly address another party’s
        assertion of fact . . . the court may . . . consider the fact undisputed for
        purposes of the motion.” Fed. R. Civ. Proc. 56(e)(2).
              Mr. Mehdiyev separately moves for partial summary judgment as to
        his claim for a declaratory judgment that he is not cybersquatting. To
        violate the cybersquatting statute, as relevant to this case, Mr. Me-
        hdiyev must:
                 (i) ha[ve] a bad faith intent to profit from that mark, in-
                 cluding a personal name which is protected as a mark un-
                 der this section; and

                 (ii) register[], traffic[] in, or use[] a domain name that--




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                  (I) in the case of a mark that is distinctive at the time
                  of registration of the domain name, is identical or con-
                  fusingly similar to that mark.

        15 U.S.C. § 1125(d)(1)(A).

           Mr. Mehdiyev’s motion focuses on the second statutory element, ar-
        guing the Council’s mark was not distinctive when <visitqatar.com> was
        registered. This requires the court to answer a question of statutory in-
        terpretation: what is “the time of registration” for purposes of cyber-
        squatting under 15 U.S.C. § 1125(d)(1)(A)? Mr. Mehdiyev argues there
        are no disputed material facts because the parties agree the domain in
        question was first registered in 2004, and the Council did not begin de-
        veloping Visit Qatar as a trademark until years later. He thus argues
        that the Council’s mark was not distinctive at the time of registration
        and he cannot be violating this provision.

           The Council contends the term “time of registration” is much more
        complicated, involving multiple factors like the chain of ownership of the
        domain, and how various owners interacted with the registry. Consider-
        ation of these factors, according to the Council, establishes that what
        Mr. Mehdiyev did after acquiring the domain amounted to a “re-regis-
        tration.” On this view, Mr. Mehdiyev would not be entitled to summary
        judgment because his actions post-date the Council’s distinctive mark.

           Who is right appears to be an open question in the Tenth Circuit, and
        some circuits have split on this issue. Ultimately, because the court does
        not find support in the statue for the concept of “re-registration” on
        which the Council’s cybersquatting arguments rest, it agrees with Mr.
        Mehdiyev. But getting there requires a bit of background on the basics
        of the domain registration and aftermarket sales process.




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           A domain name is created when it is registered with a registry oper-
        ator that maintains the registry that associates domain names with the
        proper IP numbers for the respective domain name servers. Office Depot
        Inc. v. Zuccarini, 596 F.3d 696, 698–99 (9th Cir. 2010). Registrars, which
        are distinct from registries, facilitate the purchase of available and ex-
        pired domain names to registrants and work with registries to ensure
        that domain names are properly registered. See id. The entire process of
        registering domain names is overseen by the non-profit Internet Corpo-
        ration for Assigned Names and Numbers. See id.

           At the time of initial registration, the registrant pays the registrar a
        fee for the domain name and provides contact, billing, and technical in-
        formation. See GoPets Ltd. v. Hise, 657 F.3d 1024, 1030 (9th Cir. 2011).
        After registering, a domain-name owner can modify the registration by
        updating contact information and billing information, for example. See
        id. A registrant also can switch registrars but maintain all the same
        contact information. See id. Relevant here, a domain-name owner can
        transfer ownership in the domain name with the new owner keeping the
        same registrar. At least for domains registered by Name.com, the rele-
        vant registrar in this case, Name.com appears to facilitate the sale of
        after-market domains that are already registered to third-parties. (See
        Doc. 41-3 at p. 5.) While Name.com facilitates those sales, it cannot guar-
        antee that a domain-name owner will sell its domain-name rights that
        were “initially registered.” (Id. at p. 5.) Name.com appears to label these
        transactions alternatively as after-market “registrations” or “transfers.”
        (See id. at p. 6.)

           Here, it is undisputed that a non-party to this suit originally regis-
        tered the domain name <visitqatar.com> in 2004. And it is undisputed
        that the Council began using “Visit Qatar” in October 2015. Based on
        these facts, Mr. Mehdiyev seeks summary judgment, arguing that the


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         Council did not have a distinctive mark “at the time of registration.” 15
         U.S.C. § 1125(d)(1)(A)(ii)(I). Mr. Mehdiyev claims that there is a single
         time of registration in this case: 2004. The Council argues that Mr. Me-
         hdiyev’s subsequent acquisition of the domain name in 2016 was also a
         “registration” or a “re-registration” of the domain because it may have
         involved updating information with the relevant registrar and possibly
         a new registry. In that case, the Council argues, the domain name was
         “registered” after it had created a similar, distinctive mark. Who is right
         appears to be an open question in the Tenth Circuit.

            In cases of statutory interpretation, the court must “begin and end
         our inquiry with the text, giving each word its ordinary, contemporary,
         common meaning.” Star Athletica, L.L.C. v. Varsity Brands, Inc., 137 S.
         Ct. 1002, 1010 (2017) (internal citation and quotation marks omitted).
         But “interpretation of a phrase of uncertain reach is not confined to a
         single sentence when the text of the whole statute gives instruction as
         to its meaning.” Id. (internal citation and quotation marks omitted).

            The main text at issue is: “the time of registration of the domain
         name.” 15 U.S.C. § 1125(d)(1)(A)(ii)(I).

            Read plainly, the statute suggests that registration is a singular
         event that occurs at a fixed point in time—literally “time of registra-
         tion”—not some shifting occurrence that slips in and out of existence
         depending on a grab-bag of factors as the Council argues. The canon
         against surplusage supports this conclusion. Elsewhere in the Act, Con-
         gress made explicit distinctions between the time of “acquisition” and
         the “time of registration.” Id. § 1125(d)(B)(VIII). To hold that a trade-
         mark is re-registered after each acquisition of a domain name would
         render the specific references to acquisition in § 1125(d)(B)(VIII) mean-
         ingless. See Obduskey v. McCarthy & Holthus LLP, 139 S. Ct. 1029, 1037



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         (2019) (noting that courts generally presume that statutes do not con-
         tain surplusage).

            The circuit courts to have addressed this issue are split. The Ninth
         Circuit has held, on the one hand, that the “time of registration” refers
         only to the initial registration of a domain name and not to aftermarket
         sales or acquisitions. GoPets v. Hise, 657 F.3d 1024, 1031-32 (9th Cir.
         2011). The court noted that reading “registration” to also mean “re-reg-
         istration” would allow initial registrants to have rights in their domain
         name that would evaporate, at least practically if not legally, when
         transferred to another party because no one would buy rights to a do-
         main name that would be rendered subject to a cybersquatting lawsuit
         upon the transfer. The court saw no indication that the statute would
         restrict the alienability of domain names in this way. Id. (noting that
         “the general rule is that a property owner may sell all of the rights he
         holds in property” and that “nothing in the text or structure of the stat-
         ute” indicates otherwise in this context).

            The Third and Eleventh Circuits have reached the opposite conclu-
         sion. Jysk Bed’n Linen v. Dutta-Roy, 810 F.3d 767 (11th Cir. 2015);
         Schmidheiny v. Weber, 319 F.3d 581 (3d Cir. 2003). Both involve what
         those courts call “re-registration” of a domain, and in at least one of
         them, the decision depended on a finding that the registration had ex-
         pired before being re-registered. Jysk, 810 F.3d at 772. Since the evi-
         dence is undisputed that this domain has been continuously registered
         since 2004, to the extent the marks in those cases were in fact expired
         and later registered anew, those cases may be distinguishable.

            Even if these cases were not distinguishable from the facts here, the
         court is not persuaded that a transfer of ownership, renewal, change in
         address or other registration information can effect a “re-registration”



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         of a domain that has been continuously registered, as the Council ar-
         gues. First, the concept of “re-registration” has no basis in the text. That
         term does not appear anywhere in the statute.2 And the text, as noted,
         speaks of a singular point in time: “the time,” not “the times” or the “time
         of registrations.” The plain meaning of this is that a registration is a
         single event, not something that is redone via the sort of background
         changes the Council suggests.3 This understanding is corroborated by
         the database used to record the domain names in existence, maintained
         by ICANN, which says that the <visitqatar.com> domain has been reg-
         istered since 2004.4

             The Third and Eleventh Circuit cases both rely heavily on a negative
         inference from the fact that the statute does not limit its application to
         the “initial” or “first” registration. Jysk, 810 F.3d at 777; Schmidheiny,
         319 F.3d at 582. But that inference only makes sense if you’ve already
         decided that there can be multiple registrations and re-registrations. If
         there is only one “time of registration,” as the text states, then there is
         no reason to include a qualifier such as “initial” or “first.” The fact that
         the statute does not discuss multiple registrations, to this court, sup-
         ports rather than undermines the conclusion that, consistent with the

         2  The Eleventh Circuit also noted that the ordinary meaning of “re-
         registration” simply means registering anew. Id. True enough. But that
         word does not appear in the statute, so it is unclear why its definition is
         relevant.
         3  The relevant code chapter does include the instruction that “words
         used in the singular include the plural and vice versa” “unless the con-
         trary is plainly apparent from the context.” 15 U.S.C. § 1127. The con-
         text here is plainly to the contrary.
         4  The court takes judicial notice of the public “whois” domain registra-
         tion      data        for       visitqatar.com,       accessible       at
         https://www.lookup.icann.org/lookup. That entry lists two dates rele-
         vant to registration of the domain: the date “created” (June 10, 2004)
         and the current “registry expiration” (June 10, 2022).


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         plain reading of the text, Congress contemplated only a single time of
         registration.

             In fact, courts addressing this issue have referred to these aftermar-
         ket sales of domain names as “re-registrations,” but it is not clear why
         (other than perhaps in the case of expired registrations) they are not
         simply understood as transfers or updates of registrations.5 While the
         transfers of domain names appear to require some coordination with at
         least registrars, the process does not appear to directly mirror the pro-
         cess of initial registration of a previously unclaimed domain name. The
         fact that courts are not comfortable calling them registrations, but have
         developed the extra-textual term “re-registrations” suggests that a re-
         registration is not, in fact, a registration.

             Finally, the court does not see how the alleged purpose of the statute
         can overcome these textual arguments. The Eleventh Circuit noted that
         the Act’s purpose was “to prevent cybersquatting.” Id. at 777. And it
         seems clear that the courts were put off by fairly obvious bad-faith ac-
         tions by the registrants in those cases. See Jysk, 810 F.3d at 777 (finding
         that “it would be nonsensical to exempt the bad-faith re-registration of
         a domain name”); Schmidheiny, 319 F.3d at 582.6 But if Congress had

         5   The Council cites several district court cases that found that “re-reg-
         istrations” also constituted a “registration” under § 1125(d)(1). But
         many of those district courts were bound by the in-circuit decisions of
         either the Eleventh Circuit Jysk decision or the Third Circuit’s earlier
         decision in Schmidheiny that parallels the reasoning in Jysk. Caselaw
         on this issue outside of those circuits is quite limited, and to the extent
         other district courts have voluntarily come to the same conclusion as the
         Jysk and Schmidheiny courts, this court respectfully disagrees. See, e.g.,
         Xereas v. Heiss, 933 F. Supp. 2d 1, 16 (D.D.C. 2013) (relying, in part, on
         legislative history to determine the meaning of the “time of registra-
         tion”).
         6  Schmidheiny is also distinguishable from the facts here. The Third
         Circuit limited its holding to new contracts “at a different registrar and


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         wanted to prohibit any such bad-faith use of a registration, it could have
         saved everyone a lot of trouble by not limiting § 1125(d) to domains that
         were registered after a similar mark became distinctive.

            And so while the Eleventh Circuit is right that the purpose of the
         statute is to prevent cybersquatting, that does not answer the question:
         what is cybersquatting? Just as physical squatting involves a newcomer
         occupying another’s property without any right to it, cybersquatting de-
         pends on who had the right in the first place. Squatter, Black's Law Dic-
         tionary (11th ed. 2019). There is no dispute here that Mr. Mehdiyev’s
         predecessor registered <visitqatar.com> prior to the Council’s mark be-
         coming distinctive, and was thus not cybersquatting. And there is no
         dispute that Mr. Mehdiyev legally acquired the predecessor’s legal in-
         terest in the domain. Acquiring another’s legal interest in property (in-
         tellectual or otherwise) is not squatting.

            Other policy problems arise from the Council’s proposed approach.
         First, it complicates both the registration process and the litigation pro-
         cess. As noted, ICANN lists a single registration date for a registered
         domain. The litigation complications of looking not at that ICANN date
         but to any variety of public and non-public information to decide when
         a domain was registered are obvious. And as these cases show, that date
         is important for many reasons beyond litigation, in particular that some-
         one considering putting in the effort to develop a trademark can ascer-
         tain quickly and easily if someone else has registered a domain they




         to a different registrant,” whereas here, the same registrar was main-
         tained. 319 F.3d at 582. That court also dealt with an initial domain
         registration that occurred prior to the enactment of the Anti-cybersquat-
         ting Act and a subsequent “re-registration” that occurred after enact-
         ment, which is not the case here. 319 F.3d at 581-82.


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         might want. Adding confusion and uncertainty to that process is not con-
         sistent with the statutory text or in anyone’s long-term interest.

            And this raises a final policy point. While § 1125(d)’s obvious purpose
         is to prevent cybersquatting, it also helps provide those who own or are
         developing potentially distinctive marks an incentive to either choose
         marks that are not similar to domains that are already registered, or,
         perhaps, to purchase those domains before they expend significant good-
         will creating their similar marks. Allowing a mark owner to undo an
         otherwise valid, pre-existing registration by calling it cybersquatting
         would be akin to building a house on land subject to another’s lien and
         calling the lienholder a squatter. The incentives created by allowing that
         possibility undermine the broader purposes of the Act, and are not nec-
         essary to prevent true cybersquatting.

            Here, the undisputed facts are that the Council developed its mark
         after <visitqatar.com> was registered and now seeks to get around that
         fact because the registration was transferred. But the statute does not
         turn on the ownership or time of transfer of domains—it turns on the
         time of registration. And so § 1125(d) does not apply, and Mr. Mehdiyev
         is entitled to partial summary judgment.

                                     CONCLUSION

            Mr. Mehdiyev’s motion to dismiss Qatar Airways’s counterclaims
         (Doc. 32) is GRANTED, and Qatar Airways’s counterclaims (Doc. 14 at
         pp. 32-36) are DISMISSED WITHOUT PREJUDICE.

            Mr. Mehdiyev’s motion for partial summary judgment (Doc. 38) is
         GRANTED.

            It is ORDERED that:



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            As a matter of law, Mr. Mehdiyev’s acquisition of the <visitqa-
         tar.com> domain name does not constitute cybersquatting for purposes
         of 15 U.S.C. § 1125(d) in relation to the Council’s “Visit Qatar” or “Vis-
         itQatar” trademarks.

         DATED: April 1, 2021                       BY THE COURT:




                                                    Hon. Daniel D. Domenico
                                                    United States District Judge




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